Case 1:18-cv-05775-ERK-TAM Document 93 Filed 03/17/23 Page 1 of 2 PageID #: 798

                              MILMAN LABUDA LAW GROUP PLLC
                                             3000 MARCUS AVENUE
                                                   SUITE 3W8
                                         LAKE SUCCESS, NEW YORK 11042
                                                    _________

                                             TELEPHONE (516) 328-8899
                                             FACSIMILE (516) 328-0082

 Author: Joseph M. Labuda - Member
 Direct E-Mail Address: joe@mllaborlaw.com
 Direct Dial: (516) 303-1380


                                                            March 17, 2023

 VIA ECF
 Honorable Taryn A. Merkl, U.S.M.J.
 United States District Court Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

          Re:        Star Auto Sales of Bayside, Inc. et al v. Voynow, Bayard, Whyte, and
                     Company, LLP et al
                     Case No.: 1:18-cv-05775 (ERK) (CLP)
                     MLLG File No.: 76-2018

 Dear Judge Merkl:
         Plaintiffs respectfully submit this letter to request leave to discuss the below discovery
 issues during the Court Conference scheduled on March 28, 2023 in the event that the Parties are
 unable to resolve these issues prior to the Conference. Plaintiffs’ sent a letter to Defendants today
 outlining these issues and requested to have a meet and confer to discuss the following issues:
   1) Plaintiffs previously requested Defendants to produce a legible version of
 VOYNOW_003670 and have not received this yet.

   2) Defendants’ last production on March 10, 2023 started with bate-stamp
 VOYNOW_028342 and prior production on December 14, 2022 ended with bate-stamp
 VOYNOW_028340. Plaintiffs are requesting VOYNOW_028341.

     3) Pursuant to section IV(L) in the Discovery Stipulation and Agreement executed by the
 Parties, the Parties agreed to produce the metadata files identified in Attachment “A” of the
 Agreement to the extent it is reasonably available. The metadata fields including but not limited
 to: AUTHOR, LASTAUTHOR, DATECREATED, and DATELASTMODIFIED were not
 provided by Defendants for the following electronic documents Defendants’ produced:

                a.   VOYNOW_028343-VOYNOW_028346
                b.   VOYNOW_028317-VOYNOW_028320
                c.   VOYNOW_028321-VOYNOW_028324
                d.   VOYNOW_028325-VOYNOW_028328
                e.   VOYNOW_028329-VOYNOW_028332
                f.   VOYNOW_028333-VOYNOW_028336
Case 1:18-cv-05775-ERK-TAM Document 93 Filed 03/17/23 Page 2 of 2 PageID #: 799

 Honorable Taryn A. Merkl, U.S.M.J.
 March 17, 2023
 Page |2

            g. VOYNOW_028337-VOYNOW_028340

     4) Plaintiffs are seeking clarification on why the following documents were not produced
 prior to March 10, 2023 when Defendants previously indicated they produced all of their
 workpapers for Plaintiffs’ from 2010-2017 already:
            a. Interim Report dated 8/29/2012 (VOYNOW_028343-VOYNOW_028346)
            b. Star Nissan workpapers for 2013 (VOYNOW_028365-VOYNOW_028388)
            c. Mitsubishi workpaper spreadsheet for 2010/2011 (VOYNOW_028427)

     5) Defendants’ timesheets for most of 2016 and all of 2017 do not indicate the name of the
 Voynow employee who made the entry (only their staff number). Using time records from prior
 years, Plaintiffs are able to determine each employee’s staff number except for the following staff
 numbers (which do not appear on older timesheets): 149, 150, 151, 152. Defendants must produce
 documents identifying which Voynow employees are associated with these staff numbers
 (including their current or last known contact information). As an example, some of these numbers
 appear on VOYNOW_024821. Plaintiffs reserve the rights to depose these individuals once we
 get this information.

     6) Defendants’ five (5) 30(b)(6) depositions of various Plaintiffs were taken on February 1,
 2023 through February 3, 2023 and Plaintiffs have not received a copy of these deposition
 transcripts to review. Plaintiffs have informed Defendants about this previously and asked for the
 name of the court reporting company that transcribed these depositions but have not received a
 response.

     7) Plaintiffs are in receipt of Defendants’ Second Amended Initial Disclosures dated March
 15, 2023, which added twenty-one (21) new people as potential witnesses. Plaintiffs have concerns
 about Defendants identifying twenty-one (21) potential witnesses two (2) day before the close of
 discovery.

     8) Plaintiffs never received Exhibit A from Defendants’ subpoena requesting documents
 addressed to Subaru Distributors Corporation (“SDC”) dated February 9, 2023. We understand
 that SDC responded to the subpoena but believe the requests and/or responses are overly broad.
 Plaintiffs reserve all rights to object to this subpoena once Plaintiffs receive a copy of Exhibit A
 and have a chance to review it. Plaintiffs are requesting a copy of Exhibit A.
         Plaintiffs will inform the Court during the Conference on March 28, 2023 if any of these
 issues need to be discussed or not.
                                               Respectfully submitted,
                                               MILMAN LABUDA LAW GROUP PLLC

                                               /s/ Joseph M. Labuda
 cc: All counsel of record
